     Case 4:15-cv-00225-O Document 336 Filed 03/27/18               Page 1 of 3 PageID 8950


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

CAREY D. EBERT,                                    §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §          Civil Action No.: 4:15-cv-225-O
                                                   §
HOWARD MILLER APPEL, et al.,                       §
                                                   §
         Defendants.                               §

                  MOTION TO STAY ENFORCEMENT PENDING APPEAL

         Defendant John Paul DeJoria (“DeJoria”) files this motion to stay enforcement pending

appeal and respectfully shows as follows:

         1.      On March 7, 2018, the Court signed a Final Judgment against DeJoria in the total

amount of $9.4 million. [Docket No. 332.]

         2.      On March 27, 2018, DeJoria filed his notice of appeal to the United States Court of

Appeals for the Fifth Circuit. [Docket No. 334.]

         3.      Under Rule 62(d) of the Federal Rules of Civil Procedure, DeJoria could obtain a

stay of enforcement of the judgment pending appeal by posting a supersedeas bond. Under Local

Rule 62.1, the supersedeas bond, unless modified by the Court, would have to be in the full amount

of the judgment plus an additional 20%.

         4.      The Court nevertheless has the discretion to stay enforcement of the Final Judgment

without the posting of a bond. See, e.g., Enserch Corp. v. Shand Morahan & Co., 918 F.2d 462,

464 (5th Cir. 1990); In re Nassau County Strip Search Cases, 783 F.3d 414, 415 (2d Cir. 2015);

Federal Protection Service, Inc. v. America Pharmaceutical Assoc., 636 F.2d 755, 759 (D.C. Cir.

1980). In particular, the Court can dispense with the bond requirement when the circumstances

indicate a high degree of confidence that the funds will be available to pay any judgment that
    Case 4:15-cv-00225-O Document 336 Filed 03/27/18                           Page 2 of 3 PageID 8951


remains after resolution of the appeal and if the defendant’s ability to pay is so plain that the posting

of a bond would be a waste of money. See In re Nassau County Strip Search Cases, 783 F.3d at

417-18; Dillon v. City of Chicago, 866 F.2d 902, 904-05 (7th Cir. 1988).

        5.       Based on evidence introduced at trial and on the Declaration of John Paul DeJoria

(Exhibit A hereto), these circumstances plainly exist here. DeJoria’s ability to pay any judgment

that survives appeal is manifest. Decl., ¶ 5. And, DeJoria has committed to pay any liability that

still exists after the appeal promptly, without requiring the plaintiff to engage in any collection

efforts. Id., § 6.1

        6.       In these circumstances, requiring DeJoria to post a supersedeas bond is not

necessary to protect the plaintiff’s interest and would result in a waste of resources. Accordingly,

DeJoria respectfully requests that the Court stay all efforts to enforce the judgment pending

resolution of DeJoria’s appeal without requiring DeJoria to post a supersedeas bond.

                                                     Respectfully submitted,

                                                     MCGUIREWOODS LLP

                                                     /s/ Thomas M. Farrell
                                                     Thomas M. Farrell
                                                     State Bar No. 06839250
                                                     tfarrell@mcguirewoods.com
                                                     Charles B. Hampton
                                                     State Bar No. 00793890
                                                     champton@mcguirewoods.com
                                                     K. Knox “Lighthorse” Nunnally
                                                     State Bar No. 24063995
                                                     knunnally@mcguirewoods.com
                                                     600 Travis St., Suite 7500
                                                     Houston, Texas 77002
                                                     (713) 571-9191
                                                     (713) 571-9652 (Fax)

                                                     COUNSEL FOR JOHN PAUL DEJORIA


1
 To ensure that this is not an empty promise, DeJoria is more than willing for the Court to retain, through contempt
or otherwise, whatever power the Court deems appropriate to police his compliance with this undertaking. Decl., ¶ 6.

                                                         2
  Case 4:15-cv-00225-O Document 336 Filed 03/27/18                Page 3 of 3 PageID 8952


                             CERTIFICATE OF CONFERENCE

        The undersigned has conferred with J. E. Cullens, counsel for the plaintiff, who indicated
that the plaintiff opposes the relief requested in this motion.


                                             /s/ Thomas M. Farrell
                                             Thomas M. Farrell


                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served on all counsel of record
on this 27th day of March, 2018, via the Court’s ECF filing system.


                                             /s/ Thomas M. Farrell
                                             Thomas M. Farrell


100657347_1




                                                3
